Case 1:23-cr-00049-BLW Document 1-1

Filed 02/15/23. Pagelofi

- CRIMINAL COVERSHEET

Efren Alexander Aviles-

DEFENDANT’S NAME:
Pacheco

JUVENILE: No
PUBLIC or SEALED Public

SERVICE TYPE: Warrant

CASE INFORMATION:

RELATED COMPLAINT: No
CAS NUMBER:

23-DOAY

-oBLW

(Summons/ Warrant/ Notice) U.S. COURTS
ISSUE: Yes FEB 45 2003 County of Offense: Canyon
INTERPRETER:
Revd Filed time

If YES, sneteee:

Soe W. KENYON

. CRIMIN. AL CHARGIN G INE ORMAT ION |

CHARGING DOCUMENT: Indictment

Felony: Yes Class A Misdemeanor: No
Class B or C Misdemeanor: No
“STATUTE count): [PENALTIES |
“ (itle an d Section(s)) 2 FORFEITURE |. BRIEF DESCRIPTION (elude Supervised. Release. S
| ALLEGATION Hn “and Special Assessment) -
2 USC § 841 (aj), ONE Possession with Intent to |Mandatory Minimum 10
(b}(1)(A) Distribute years and up te life, at least
Methamphetamine five years supervised release,
$10,000,000 fine, $100
Special Assessment
21 U,LS.C. § 841(a)(1), TWO Possession with Intent to | At least 5 years and not more
(b)(1)(B) Distribute Fentanyl than 40 years imprisonment,
at least four years supervised
release, $5,000,000 fine, $100
Special Assessment
21 ULS.C. § 841(a)(1), THREE Possession with Intent to | Up to 20 years
(b)()(C) Distribute Cocaine imprisonment, at least three
years supervised release,
$1,000,000 fine, $100 Special
Assessment
21 ULS.C. § 924(c)(1) FOUR Possession of a Firearm in | Imprisonment for at least 5
Furtherance of a Drug | years consecutive up te life
Trafficking Crime and/or $250,000 fine, at least
3 years Supervised Release,
$100 Special Assessment
18 U.S.C. § 922(¢)(1) FIVE Unlawful Possession of | Up to 15 years prison, 3
Firearms years supervised release,
$250,000 fine, and a $100
Special Assessment
21 U.S.C, § 853 FORFEITURE Drug Forfeiture Forfeiture of listed property
18 U.S.C, § 924(d) and FORFEITURE Firearm Forfeiture Forfeiture of listed property
28 U.S.C. § 2461{c)
Date: 15 February 2023 Assistant U.S. Attorney: CHRISTIAN 8. NAFZGER CoN

Telephone No.: (208) 334-1211

